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 5

 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:10-CR-217-PMP-(PAL)
                                                         )
11    ROSSEN DASKALOV,                                   )
      aka Vesko Simeonov,                                )
12                                                       )
                             Defendant.                  )
13
                               PRELIMINARY ORDER OF FORFEITURE
14
              On January 16, 2013, defendant ROSSEN DASKALOV pled guilty to Count One of a Thirty-
15
      Four-Count Second Superseding Criminal Indictment charging him in Count One with conspiracy to
16
      receive, possess, and conceal property stolen, unlawfully converted, and taken by fraud, which
17
      crossed a State boundary, in violation of Title 18, United States Code, Section 2315; to transport in
18
      interstate commerce property, which was stolen, converted, or taken by fraud in violation of Title 18,
19
      United States Code, Section 2314; to transmit interstate wire communications in furtherance and
20
      execution of a scheme and artifice to defraud in violation of Title 18, United States Code, Section
21
      1343. Second Superseding Criminal Indictment, ECF No. 165; Plea Memorandum, ECF No. ___.
22
              This Court finds defendant ROSSEN DASKALOV agreed to the forfeiture of the property
23
      set forth in the Forfeiture Allegations of the Second Superseding Criminal Indictment and the Plea
24
      Memorandum. Second Superseding Criminal Indictment, ECF No. 165; Plea Memorandum, ECF No.
25
      ___.
26
      ...
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 1            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

 2    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

 3    Second Superseding Criminal Indictment and the Plea Memorandum and the offenses to which

 4    defendant ROSSEN DASKALOV pled guilty. Second Superseding Criminal Indictment, ECF No.

 5    165; Plea Memorandum, ECF No. ___.

 6            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 7    982(a)(2)(A); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

 8    Section 2461(c); and Title 21, United States Code, Section 853(p):

 9            an in personam criminal forfeiture money judgment of $1,072,297.64 in United States

10    Currency, including:

11            1.     2008 Black, Subaru Tribeca, VIN: 4S4WX90D684411321;

12            2.     2008 Tracker Pro 170 boat, VIN: BUJ01971E708;

13            3.     2008 Black, Trailstar Boat Trailer, VIN: 4TM11GE188B001374;

14            4.     2008 Silver, Audi A3, VIN: WAUKD78P68A145019;

15            5.     2008 Silver, Subaru Impreza Outback Wagon, VIN: JF1GH63678H823361;

16            6.     2008 White, Mercedes Benz S550, VIN: WDDNG71X78A187996;

17            7.     2008 White and Black, Sea Ray boat, VIN: SERV4654A808;

18            8.     2008 Black, Shorelander Boat Trailer, VIN: 1MDASNY278A408389;

19            9.     2008 Silver, Audi A4, VIN: WAUAF78E98A114156;

20            10.    2007 Silver, Volvo S60, VIN: YV1RS592572638224; and

21            11.    2008 White, Hyundai Accent, VIN: KMHCN46C48U237243.

22            This Court finds the United States of America is now entitled to, and should, reduce the

23    aforementioned property to the possession of the United States of America.

24            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

25    United States of America should seize the aforementioned property.

26    ...

                                                        2
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 1            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

 2    ROSSEN DASKALOV in the aforementioned property is forfeited and is vested in the United States

 3    of America and shall be safely held by the United States of America until further order of the Court.

 4            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 5    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 6    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

 7    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

 8    the name and contact information for the government attorney to be served with the petition, pursuant

 9    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

10            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

11    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

12            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

13    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

14    following address at the time of filing:

15                   Michael A. Humphreys
                     Assistant United States Attorney
16                   Daniel D. Hollingsworth
                     Assistant United States Attorney
17                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
18                   Las Vegas, Nevada 89101.

19            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

20    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

21    following publication of notice of seizure and intent to administratively forfeit the above-described

22    property.

23                        22nd day
              DATED this ______ day of __________________,
                                       January, 2013.      2013.

24

25

26                                                   UNITED STATES DISTRICT JUDGE

                                                         3
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 1                                          PROOF OF SERVICE
 2            I, Heidi L. Skillin, certify that the following individuals were served with copies of the
 3    Preliminary Order of Forfeiture on January 18, 2013 by the below identified method of service:
 4            CM/ECF
 5            Terrence M. Jackson
              624 South Ninth Street
 6            Las Vegas, NV 89101
              Terry.Jackson.Esq@gmail.com
 7            Counsel for Dragomir Taskov
 8            John Momot, Jr.
              520 South Fourth Street, Suite 300
 9            Las Vegas, NV 89101
              momotlawfirm@gmail.com
10            Counsel for Dimitar Dimitrov
11            Michael Sanft
              520 South Fourth Street
12            Las Vegas, NV 89101
              michael@sanftlaw.com
13            Counsel for Boyan Gueorguiev
14            Michael J. Miceli
              330 South Third Street, Suite 860
15            Las Vegas, NV 89101
              thomaspitaro@yahoo.com
16            Counsel for Rossen Daskalov
17            Charles E. Kelley
              706 South Eighth Street
18            Las Vegas, NV 89101
              ceklv@aol.com
19            Counsel for Nikolay Mladenov
20
                                                     /s/Heidi L. Skillin
21                                                  HEIDI L. SKILLIN
                                                    Forfeiture Support Associate Paralegal
22

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